                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ELLSWORTH ASSOC., LLP, U. S. OF A.,             :
 EX. REL. ELLSWORTH ASSOC., LLP,                 :             No. 19-cv-2553-JMY
                                                 :
               v.                                :
                                                 :
 CVS HEALTH CORP., et al.,                       :

                                   SCHEDULING ORDER

       AND NOW, this 23rd day of May, 2023, it is ORDERED as follows:

       1.     The parties shall comply with the following deadlines:

              a.      All fact discovery shall be completed by Friday, February 23, 2024.

              b.      The parties shall produce their expert report(s) by Thursday, April 4,

2024; rebuttal expert report(s) shall be produced by Friday, May 3, 2024; all expert discovery,

including all depositions of expert witnesses, shall be completed by Monday, June 24, 2024.

              c.      All motions for summary judgment and Daubert motions shall be filed no

later than Friday, August 23, 2024. Responses to such motions shall be filed no later than

Wednesday, September 25, 2024.

       2.     This case is referred to United States Magistrate Judge Carol Sandra Moore-Wells

for settlement purposes. Judge Moore-Wells will contact counsel to initiate the settlement

process. As a general rule, the Court will not extend or stay the foregoing case management

deadlines pending the conduct of settlement discussions.

       3.     A Final Pretrial Conference will be held on Tuesday, January 7, 2025 @ 10:00

A.M. Counsel shall appear by remote video and will be notified by Chambers via email with

instructions on how to participate remotely. No later than seven (7) days before the Final

Pretrial Conference, the parties shall file their Pretrial Memoranda in accordance with Local
Rule of Civil Procedure 16.1(c) and Judge Younge’s Policies and Procedures. A trial date, and

deadlines for other pretrial submissions (such as exhibits, jointly proposed voir dire and jury

instructions, and motions in limine), will be set by the Court at, or shortly after, the Final Pretrial

Conference.

         4.    Counsel are referred to Judge Younge’s operating procedures for further

information: http://www.paed.uscourts.gov/judges-info/district-court-judges/john-milton-

younge

         IT IS SO ORDERED.



                                                       BY THE COURT:

                                                        /s/ John Milton Younge
                                                       JUDGE JOHN MILTON YOUNGE
